

People v Davis (2017 NY Slip Op 08950)





People v Davis


2017 NY Slip Op 08950


Decided on December 22, 2017


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 22, 2017
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., PERADOTTO, DEJOSEPH, NEMOYER, AND CURRAN, JJ.


1180 KA 13-01709

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vTANISHA M. DAVIS, DEFENDANT-APPELLANT. 






TIMOTHY P. DONAHER, PUBLIC DEFENDER, ROCHESTER, SULLIVAN &amp; CROMWELL, LLP, NEW YORK CITY (ZACHARY G. MARKARIAN OF COUNSEL), FOR DEFENDANT-APPELLANT.
SANDRA DOORLEY, DISTRICT ATTORNEY, ROCHESTER (LEAH MERVINE OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Supreme Court, Monroe County (Alex R. Renzi, J.), rendered September 18, 2013. The judgment convicted defendant, upon a jury verdict, of manslaughter in the first degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: Defendant appeals from a judgment convicting her, upon a jury verdict, of manslaughter in the first degree (Penal Law
§ 125.20 [1]). Contrary to defendant's contention, the verdict is not against the weight of the evidence when viewed in light of the elements of the crime as charged to the jury (see generally People v Danielson, 9 NY3d 342, 349 [2007]; People v Bleakley, 69 NY2d 490, 495 [1987]). Contrary to defendant's further contention, we conclude that she received meaningful representation (see generally People v Benevento, 91 NY2d 708, 711-714 [1998]; People v Baldi, 54 NY2d 137, 147 [1981]). We conclude that the sentence is not unduly harsh or severe. Defendant failed to preserve her remaining contentions for our review (see generally CPL 470.05 [2]), and we decline to exercise our power to review them as a matter of discretion in the interest of justice (see CPL 470.15 [6] [a]).
Entered: December 22, 2017
Mark W. Bennett
Clerk of the Court








